     Case 3:24-cv-00030-ART-CSD       Document 5        Filed 08/02/24   Page 1 of 3


 1                            UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3     JAMELLE RUSSELL,                                 Case No. 3:24-cv-00030-ART-CSD

 4                                     Plaintiff,                    ORDER
             v.
 5
       M. GONZALEZ, et al.,
 6
                                   Defendants.
 7

 8          Plaintiff Jamelle Russell brings this civil-rights action under 42 U.S.C.
 9    § 1983 to redress constitutional violations that he claims he suffered while
10    incarcerated at Lovelock Correctional Center. (ECF No. 1-1). On June 6, 2024,
11    this Court ordered Russell to update his address by July 8, 2024. (ECF No. 3).
12    That deadline expired without an updated address from Russell, and his mail
13    from the Court is being returned as undeliverable. (See ECF No. 4).
14    I.    DISCUSSION
15          District courts have the inherent power to control their dockets and “[i]n
16    the exercise of that power, they may impose sanctions including, where
17    appropriate . . . dismissal” of a case. Thompson v. Hous. Auth. of City of Los
18    Angeles, 782 F.2d 829, 831 (9th Cir. 1986). A court may dismiss an action based
19    on a party’s failure to obey a court order or comply with local rules. See Carey v.
20    King, 856 F.2d 1439, 1440-41 (9th Cir. 1988) (affirming dismissal for failure to
21    comply with local rule requiring pro se plaintiffs to keep court apprised of
22    address); Malone v. U.S. Postal Service, 833 F.2d 128, 130 (9th Cir. 1987)
23    (dismissal for failure to comply with court order). In determining whether to
24    dismiss an action on one of these grounds, the Court must consider: (1) the
25    public’s interest in expeditious resolution of litigation; (2) the Court’s need to
26    manage its docket; (3) the risk of prejudice to the defendants; (4) the public policy
27    favoring disposition of cases on their merits; and (5) the availability of less drastic
28    alternatives. See In re Phenylpropanolamine Prod. Liab. Litig., 460 F.3d 1217,



                                                    1
     Case 3:24-cv-00030-ART-CSD      Document 5     Filed 08/02/24   Page 2 of 3


 1    1226 (9th Cir. 2006) (quoting Malone v. U.S. Postal Serv., 833 F.2d 128, 130 (9th

 2    Cir. 1987)).

 3          The first two factors, the public’s interest in expeditiously resolving this

 4    litigation and the Court’s interest in managing its docket, weigh in favor of

 5    dismissal of Russell’s claims. The third factor, risk of prejudice to defendants,

 6    also weighs in favor of dismissal because a presumption of injury arises from the

 7    occurrence of unreasonable delay in filing a pleading ordered by the court or

 8    prosecuting an action. See Anderson v. Air West, 542 F.2d 522, 524 (9th Cir.

 9    1976). The fourth factor—the public policy favoring disposition of cases on their

10    merits—is greatly outweighed by the factors favoring dismissal.

11          The fifth factor requires the Court to consider whether less drastic

12    alternatives can be used to correct the party’s failure that brought about the

13    Court’s need to consider dismissal. See Yourish v. Cal. Amplifier, 191 F.3d 983,

14    992 (9th Cir. 1999) (explaining that considering less drastic alternatives before

15    the party has disobeyed a court order does not satisfy this factor); accord

16    Pagtalunan v. Galaza, 291 F.3d 639, 643 & n.4 (9th Cir. 2002) (explaining that

17    “the persuasive force of” earlier Ninth Circuit cases that “implicitly accepted

18    pursuit of less drastic alternatives prior to disobedience of the court’s order as

19    satisfying this element[,]” i.e., like the “initial granting of leave to amend coupled

20    with the warning of dismissal for failure to comply[,]” have been “eroded” by

21    Yourish). Courts “need not exhaust every sanction short of dismissal before finally

22    dismissing a case, but must explore possible and meaningful alternatives.”

23    Henderson v. Duncan, 779 F.2d 1421, 1424 (9th Cir. 1986). Because this action

24    cannot realistically proceed without the ability for the Court and the defendants

25    to send Russell case-related documents, filings, and orders, the only alternative

26    is to enter a second order setting another deadline. But without an updated

27    address, the likelihood that the second order would even reach Russell is low, so

28    issuing a second order will only delay the inevitable and further squander the



                                                2
     Case 3:24-cv-00030-ART-CSD     Document 5     Filed 08/02/24   Page 3 of 3


 1    Court’s finite resources. Setting another deadline is not a meaningful alternative

 2    given these circumstances. So the fifth factor favors dismissal.

 3    II.   CONCLUSION

 4          Having thoroughly considered these dismissal factors, the Court finds that

 5    they weigh in favor of dismissal. It is therefore ordered that this action is

 6    dismissed without prejudice based on Russell’s failure to file an updated address

 7    in compliance with this Court’s June 6, 2024, order. The Clerk of Court is directed

 8    to enter judgment accordingly and close this case. No other documents may be

 9    filed in this now-closed case. If Russell wishes to pursue his claims, he must file

10    a complaint in a new case and provide the Court with his current address.

11          It is further ordered that Russell’s application to proceed in forma pauperis,

12    (ECF No. 1) is denied as moot.

13

14

15          DATED THIS 2nd day of August 2024.

16

17

18

19                                          ANNE R. TRAUM
                                            UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25

26

27

28



                                               3
